Case 3:21-cv-00653-TJC-PDB Document 10 Filed 08/05/21 Page 1 of 3 PageID 28




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

ROBIN JORDAN,                                    Case No. 3:21-cv-653-MMH-PDB
    Plaintiff,

v.

COMPLETE HEALTH PARTNERS OF
FLORIDA, INC., a/k/a COMPLETE
HEALTH PARTNERS, INC., a/k/a
COMPLETE HEALTH, LLC,
    Defendant.


                               MOTION TO WITHDRAW

        COMES NOW the undersigned Counsel for Plaintiff, ROBIN JORDAN, and

respectfully requests the entry of an Order, permitting the undersigned Counsel

to withdraw from further representation of Plaintiff, and in support thereof states

the following:

        1.      Irreconcilable differences exist between Plaintiff and the undersigned

Counsel, mandating that the undersigned Counsel seek to withdraw from further

representation of Plaintiff.

        2.      Undersigned Counsel has sought in good faith to resolve these

differences without success.

        3.      Plaintiff’s last known address and contact information is as follows:

Robin        Jordan,   734   Windemere       Way,    St.   Augustine,     FL   32095,

RMJordan20@gmail.com, 904-504-0335.


                                            1
Case 3:21-cv-00653-TJC-PDB Document 10 Filed 08/05/21 Page 2 of 3 PageID 29




       4.       Plaintiff does not desire the undersigned Counsel to continue

representing Plaintiff, but Plaintiff seeks additional time to seek replacement

counsel.

       5.       Plaintiff is expeditiously seeking other representation and, therefore,

undersigned Counsel requests that the Court provide Plaintiff with 30 days to find

replacement Counsel.

                            Local Rule 3.01(g) Certification

       Pursuant to Local Rule 3.01(g), I certify that, on this day, I conferred with

Counsel for Defendant via email about the relief sought in this motion. Defendant

does not oppose this motion.

WHEREFORE, the undersigned Counsel respectfully requests the entry of an

Order, permitting undersigned Counsel to withdraw from further representation

of Plaintiff.

Dated August 5, 2021.                           THE BONDERUD LAW FIRM, P.A.

                                                /s/ Andrew Bonderud
                                                Andrew M. Bonderud, Esq.
                                                Florida Bar No. 102178
                                                2130 Riverside Ave.
                                                Jacksonville, FL 32204
                                                904-438-8082 (telephone)
                                                904-800-1482 (facsimile)
                                                Andrew@Jax.Lawyer
                                                Kinnette@Jax.Lawyer
                                                BonderudLaw@gmail.com
                                                Counsel for Plaintiff




                                            2
Case 3:21-cv-00653-TJC-PDB Document 10 Filed 08/05/21 Page 3 of 3 PageID 30




                          CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this date, I filed the foregoing document with the

Clerk of Court via the CM/ECF system, which will serve a notice of electronic

filing via email upon:

Meg Zabijaka, Esq.
200 West Forsyth Street, Suite 1700
Jacksonville, FL 32202
MZabijaka@constangy.com
Counsel for Defendant

I FURTHER CERTIFY that on this date, I emailed a true and accurate copy of the

foregoing document to:

Robin Jordan
734 Windemere Way
St. Augustine, FL 32095
RMJordan20@gmail.com
Defendant

                                          /s/ Andrew Bonderud
                                          Attorney




                                      3
